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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                  MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                      Case No. C-07-5944 JST

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                                           This Order Relates To:                         ORDER GRANTING TOSHIBA
                                  10                                                      DEFENDANTS' MOTION FOR
                                                                                          RECONSIDERATION
                                  11       All Actions
                                  12
Northern District of California
 United States District Court




                                  13             On November 6, 2015, the Court adopted the Report and Recommendation (“R&R”) of

                                  14   Special Master Vaughn R. Walker, United States Chief District Judge (Ret.) (“Judge Walker”)

                                  15   granting Plaintiffs’ motion to compel Toshiba to authenticate documents. ECF No. 4171

                                  16   (“11/6/15 Order”). Subsequently, Toshiba Defendants filed a Motion for Leave to File Motion for

                                  17   Reconsideration seeking “reconsideration of the Court’s articulation of the standard of review

                                  18   applicable to its review of reports and recommendations of Special Master Vaughn Walker.” ECF

                                  19   No. 4186. The Court granted Toshiba’s motion for leave. ECF No. 4205. Now before the Court

                                  20   is Toshiba’s Motion for Reconsideration. ECF No. 4186-1 (“Mot.”). The motion is fully briefed1

                                  21   and suitable for disposition without oral argument pursuant to Local Rule 7-1(b). For the reasons

                                  22   provided below, Toshiba’s motion is GRANTED.

                                  23             The potential appointment of Special Master Walker arose in November 2013, at which

                                  24   time Judge Conti (the undersigned’s predecessor in this matter) noted that correspondence from

                                  25   the parties indicated the need for a discovery master. ECF No. 2095 (citing ECF Nos. 1954, 1967,

                                  26   1968, 2013). Judge Conti then proposed the appointment of Judge Walker as discovery master,

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                                           ECF Nos. 4223 (“Opp’n”); 4236 (“Reply”).
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                                   1   stating that “[t]he parties shall file letters of support or opposition to this decision within seven (7)

                                   2   days of this Order’s signature date” and noting that “[a]ny party objecting to this appointment

                                   3   shall propose an alternative discovery magistrate.” ECF No. 2095 at 1. In response, the parties

                                   4   filed a joint letter, indicating their support of Judge Walker’s appointment. ECF No. 2204. Judge

                                   5   Conti then issued an Order Appointing Special Master for Discovery. ECF No. 2272. That order

                                   6   stated in part that “[r]eview of the Special Master’s orders will be subject to the same procedures

                                   7   as review of orders of a Magistrate Judge.” Id. at 4.

                                   8            A district court reviews a motion for relief from a nondispositive pretrial order of a

                                   9   magistrate judge for whether such order is “clearly erroneous or contrary to law.” 28 U.S.C. §

                                  10   636(b)(1)(A); Fed. R. Civ. P. 72(a). Accordingly, the Court reviewed Judge Walker’s R&R for

                                  11   clear error. Rule 53 of the Federal Rules of Civil Procedure, however, states that district courts are

                                  12   to review all objections to a special master’s findings of fact de novo unless the parties stipulate
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                                  13   that those findings be reviewed for clear error. The parties did not stipulate to the provisions

                                  14   contained in the Order Appointing Special Master for Discovery, nor was there any such

                                  15   stipulation in the correspondence originally relied upon by Judge Conti or the joint letter by which

                                  16   the parties agreed to the appointment of Judge Walker as Special Master.

                                  17            Plaintiffs note Toshiba neither objected to the Order Appointing Special Master for

                                  18   Discovery nor the multiple orders issued by Judge Conti which stated that the Court was

                                  19   reviewing Judge Walker’s findings for clear error. See Opp’n at 2 (providing as examples, ECF

                                  20   Nos. 2714 at 4; 2945 at 5). The Court agrees it would have been helpful to all parties if Toshiba

                                  21   had made its objections known previously, and that it had more than one opportunity to do so.

                                  22   Nevertheless, a lack of objection does not a stipulation make. Parties have a right to de novo

                                  23   review; Rule 23 is clear that they can relinquish that right by stipulation; the parties here have not

                                  24   done so. Accordingly, the Court finds that its 11/6/2015 Order as to the standard of review was in

                                  25   error.

                                  26            Toshiba does not challenge the Court’s adoption of Judge Walker’s R&R. Rather, it asks

                                  27   only that the Court reconsider its articulation of the standard of review. See Mot. at 1 (“Toshiba

                                  28   would not ordinarily be inclined to move for reconsideration of such an order. But Toshiba is
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                                   1   concerned about the precedential effect of an order that . . . applies an overly deferential standard

                                   2   to the Special Master’s report and recommendations.”). Having found that it previously applied

                                   3   the incorrect standard of review, however, the Court believes it appropriate to now apply the

                                   4   correct one. After applying a de novo standard of review, the Court once again ADOPTS Judge

                                   5   Walker’s R&R in full. As the Court held in its previous order, “Plaintiff’s motion to compel was a

                                   6   discovery dispute within Judge Walker’s authority.” 11/6/2015 Order at 3. A higher standard of

                                   7   review does not change this fact.

                                   8          For the forgoing reasons, the Court GRANTS Toshiba’s motion as to the Court’s

                                   9   articulation of the standard of review for reports and recommendations by the Special Master.

                                  10          IT IS SO ORDERED.

                                  11   Dated: January 5, 2016
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                                  12
Northern District of California




                                                                                                      JON S. TIGAR
 United States District Court




                                  13                                                            United States District Judge

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